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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.       CV 20-2783 PSG (JEMx)                                        Date   April 15, 2020
 Title          Postmates Inc. v. 10,356 Individuals




 Present: The Honorable        Philip S. Gutierrez, United States District Judge
                   Wendy Hernandez                                          Not Reported
                      Deputy Clerk                                         Court Reporter
            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                       Not Present                                           Not Present
 Proceedings (In Chambers):           The Court DENIES the application

       Before the Court is Plaintiff Postmates Inc.’s (“Postmates” or “Plaintiff”) ex parte
application for a temporary restraining order and order to show cause why a preliminary
injunction should not issue. See Dkt. # 17 (“App.”). Defendants in this action have opposed, see
Dkt. # 19, 21 (“Opp.”), and Plaintiff replied, see Dkt. # 28 (“Reply”). The Court finds the matter
appropriate for decision without oral argument. See Fed. R. Civ. P. 78; L.R. 7-15. Having
considered the moving, opposing, and reply papers, the Court DENIES the application.

I.       Background

         A.      Postmates and the Fleet Agreement

        Postmates operates an online marketplace and mobile platform through which consumers
connect with local merchants and, if consumers request delivery, independent couriers to
facilitate the purchase, fulfillment, and delivery of products from merchants to consumers. See
Declaration of Patricia Cartes Andres, Dkt. # 17-27 (“Andres Decl.”), ¶ 4. When consumers
place orders through Postmates’ platform, they can decide whether to pick up the order or have it
delivered. Id. If a consumer chooses delivery, couriers receive a notification and can choose
whether to pick up and deliver the goods. Id.

       Anyone can sign up to be a courier. Id. ¶ 8. Before couriers can access Postmates’
platform to begin receiving delivery opportunities, they must accept Postmates’ Fleet
Agreement, which is presented to individuals during an online registration process. Id. ¶¶ 8–11,
Exs. A–C. The Fleet Agreement provides that couriers are “independent contractor[s].” Id. ¶
12, Ex. A §§ 1A, 2A. Each version of the Fleet Agreement from 2017 through 2019 contains a
substantively similar Mutual Arbitration Provision with a Class Action Waiver, delegation



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clause, and the ability for couriers to opt out of arbitration within 30 days of accepting the Fleet
Agreement. Id. ¶ 13.

        The Fleet Agreement contains a Mutual Arbitration Provision that is governed by the
Federal Arbitration Act (“FAA”). Id. ¶ 13, Ex. A § 10A(i). Couriers may opt out of arbitration
by submitting an opt-out notice within 30 days of accepting the Fleet Agreement. Id., Ex. A §
10B(ix). For those that do not opt out, the Provision states that Postmates and the courier
“mutually agree to resolve any disputes between them exclusively through final and binding
arbitration instead of filing a lawsuit in court.” Id. § 10A(i). The Mutual Arbitration Provision
contains an express Class Action Waiver and Representative Action Waiver. Id. § 10B(ii)–(iii).
The Class Action Waiver states:

         CLASS ACTION WAIVER—PLEASE READ. Postmates and You mutually agree that
         any and all disputes or claims between the Parties will be resolved in individual
         arbitration. The Parties further agree that by entering into this Agreement, they waive
         their right to have any dispute or claim brought, heard or arbitrated as a class and/or
         collective action, or to participate in any class and/or collective action, and an arbitrator
         shall not have any authority to hear or arbitrate any class and/or collective action.

Id. § 10B(ii).

         The Mutual Arbitration Provision also contains a delegation clause, which provides:

         Only an arbitrator, and not any federal, state, or local court or agency, shall have the
         exclusive authority to resolve any dispute relating to the interpretation, applicability,
         enforceability, or formation of this Mutual Arbitration Provision, including without
         limitation any dispute concerning arbitrability. However, as stated in Section 10B.iv
         below, the preceding clause shall not apply to any dispute relating to or arising out of the
         Class Action Waiver and Representative Action Waiver, which must proceed in a court of
         competent jurisdiction and cannot be heard or arbitrated by an arbitrator.

Id. § 10A(ii) (emphasis added). Section 10B.iv provides:

         Notwithstanding any other clause contained in this Agreement, this Mutual Arbitration
         Provision, or the American Arbitration Association Commercial Arbitration Rules (“AAA
         Rules”), any claim that all or part of this Class Action Waiver and/or Representative
         Action Waiver is unenforceable, unconscionable, void, or voidable shall be determined
         only by a court of competent jurisdiction and not by an arbitrator. As stated above, all


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         other disputes regarding interpretation, applicability, enforceability, or formation of this
         Mutual Arbitration Provision shall be determined exclusively by an arbitrator.

Id. § 10B(iv) (emphasis added).

         B.      The Adams Action

        On March 6, 2019, counsel for Defendants here, Keller Lenkner LLC, wrote to
Postmates’ General Counsel, asserting that Keller Lenkner “represents more than 3,000
Postmates drivers in California and Illinois” who allegedly had been misclassified as
independent contractors. See Declaration of Theane Evangelis, Dkt. # 17-4 (“Evangelis Decl.”),
¶ 3, Ex. A. Counsel stated that their law firm would “proceed with every arbitration
simultaneously” unless the parties could “agree on an alternative process for resolving [their]
clients’ claims.” Id.

        In April and May 2019, Keller Lenkner filed demands on behalf of over 5,000 California
and Illinois claimants (the “Adams Claimants”). Id. ¶¶ 4–5, Exs. B–D. The Firm submitted a
cover letter, a document setting forth the alleged claimants’ grievances, a spreadsheet listing the
alleged claimants, a packet of fee waiver applications, and copies of Postmates’ 2018 and 2019
Fleet Agreements. Id. AAA assigned a single administrator to administer the claimants’
purported claims. Id. ¶ 6. AAA determined that it would administer the arbitrations and assess
filing fees under its “Employment/Workplace Fee Schedule,” which called for an assessment of
a $1,900 administrative fee payable at the time of filing by a business against whom an
arbitration demand is submitted. Id. On May 31, 2019, the deadline for Postmates’ payment of
arbitration filing fees, the AAA contacted Postmates for its position on whether the AAA could
properly assess fees against Postmates, and Postmates responded that in its view no arbitration
proceedings had begun because the arbitration demands were improper. See id. ¶ 9.

       In June 2019, the claimants filed a Petition to Compel Arbitration in the Northern District
of California, seeking an order compelling Postmates to pay arbitration filing fees and
commence arbitration. See Adams v. Postmates, Inc., 414 F. Supp. 3d 1246, 1249–51 (N.D. Cal.
2019) (“Adams I”). Postmates filed an opposition and Cross-Motion, agreeing that the claims
should be resolved by arbitration but arguing the arbitration demands were “tantamount to a de
facto class action, which is barred under the Class Action Waiver,” and asking the court to
compel arbitration and enter an order “(1) requiring each Petitioner to refile his or her demand as
an individual arbitration demand that sets forth the facts and legal theories of relief applicable to
the particular Petitioner; and (2) requiring each Petitioner, after refiling, to proceed to arbitration
on an individual basis.” Id. at 1251.


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        On October 22, 2019, the court granted in part and denied in part the parties’ motions.
See generally id. The Court ordered the parties to arbitrate in accordance with the Mandatory
Arbitration Provision of the Fleet Agreement, but it declined to order Postmates to pay the
outstanding or future arbitration fees, or to order the claimants to “refile their demands and to
proceed in a specific manner.” See id. Applying the Fleet Agreement’s delegation clause, the
court ordered that Postmates must arbitrate not only the claimants’ misclassification claims, but
also its own arguments regarding “the sufficiency of Petitioners’ arbitration demands and how
the arbitration should be conducted.” Id. at 1252–56; see also Abernathy v. DoorDash, Inc., No.
C 19-07545 WHA, 2020 WL 619785, at *4 (N.D. Cal. Feb. 10, 2020). Postmates has appealed
the court’s order. See Postmates v. Adams, No. 19-17362 (9th Cir. 2020). Postmates filed a
motion to stay the Adams decision pending its appeal to the Ninth Circuit. See Adams v.
Postmates, Inc., No. 19-3042 SBA, 2020 WL 1066980, at *2–*3 (N.D. Cal. Mar. 5, 2020)
(“Adams II”). On March 5, 2020, the court denied the motion. See id.

       On November 20, 2019, Postmates emailed AAA and requested that only fifty randomly-
selected Adams Claimants’ arbitrations commence. See Evangelis Decl., Ex. H at 19.
Defendants disagreed. Id. at 17–18. AAA responded that Plaintiff’s fees remained due, and
when the fees were not received, AAA administratively closed the arbitrations. Id. at 12–18;
Opp. 8:14–26. In December 2019, the parties agreed to proceed with fifty arbitrations, and
Postmates paid the filing fees necessary for fifty arbitration demands to proceed, with the other
matters remaining closed. See Evangelis Decl. ¶¶ 34–38, 44, Ex. H at 1–11.

         C.      SB 707

        The California Legislature enacted Senate Bill 707, effective January 1, 2020. In relevant
part, the law states:

         In an employment or consumer arbitration that requires, either expressly or through
         application of state or federal law or the rules of the arbitration administrator, the drafting
         party to pay certain fees and costs before the arbitration can proceed, if the fees or costs to
         initiate an arbitration proceeding are not paid within 30 days after the due date, the
         drafting party is in material breach of the arbitration agreement, is in default of the
         arbitration, and waives its right to compel arbitration under Section 1281.2.

Cal. Civ. Proc. Code § 1281.97(a). It further states that, “[i]f the drafting party materially
breaches the arbitration agreement and is in default,” the employee or consumer may either “(1)
Withdraw the claim from arbitration and proceed in a court of appropriate jurisdiction,” or “(2)
Compel arbitration in which the drafting party shall pay reasonable attorney’s fees and costs


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related to the arbitration.” Id. § 1281.97(b). If the non-drafting party proceeds in court, the
“court shall impose a monetary sanction” against the drafting party “by ordering the drafting
party to pay the reasonable expenses, including attorney’s fees and costs,” and may impose other
sanctions including evidentiary sanction, default on the underlying claims, and contempt of
court. Id. § 1281.99.

         C.      This Action

       On February 15, 2020, the Defendants in this action, represented by Keller Lenkner, filed
10,356 arbitration demands against Postmates. See Evangelis Decl. ¶ 46, Ex. S. Each Defendant
alleges worker misclassification and violations of California wage and hour laws, as well as
“applicable Municipal Codes,” and many allege violations of the Fair Labor Standards Act. Id.
Defendants’ demands followed the same format as those of the Adams Claimants. See Opp.
10:5–11.

        AAA notified Postmates of the new filing on February 24, 2020. See Evangelis Decl. ¶
47, Ex. T at 8 (“AAA Email”). The email confirmed AAA’s receipt of “ten thousand three
hundred and fifty-six (10,356) individual demands for arbitration involving the above referenced
parties, each of which has been filed in accordance with a contract containing a clause providing
for administration by the AAA.” Id. The email stated that the preliminary review had
determined that the cases would “be administered” under the “American Arbitration Association
(‘AAA’) Employment Arbitration Rules,” and in accordance with the “‘Administrative Group
Filing Fees’ section” of the AAA Employment/Workplace Fee Schedule, and stated that
Postmates must pay a total of $4,689,600 in initial fees by March 16, 2020. Id. AAA also stated
that the demands are subject to SB 707 and that “payment must be received by April 15, 2020 or
the AAA may close the parties’ cases.” Id. AAA asserted that it “will not grant any extensions
to this payment deadline.” Id. AAA invoiced Postmates for $4,689,600 in filing fees. See
Evangelis Decl. ¶ 48.

       On March 25, 2020, Postmates filed this action. See Complaint, Dkt. # 1 (“Compl.”).
The next day, Postmates informed AAA that it had filed a lawsuit concerning the 10,356
demands. See Evangelis Decl. ¶ 50; AAA Email at 7–8. Postmates also requested that AAA
suspend administration of these matters for 60 days under Employment Rule 1, which provides
that “AAA will suspend administration for 60 days” if “a party seeks judicial intervention with
respect to a pending arbitration” “within 30 days after the AAA’s commencement of
administration.” Id. AAA denied Postmates’ request on March 27. See Evangelis Decl. ¶ 51;
AAA Email at 2.



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      Postmates amended its complaint. See First Amended Complaint, Dkt. # 7 (“FAC”).
Postmates brings the following causes of action:

         Count I: Declaratory Judgment: Postmates Cannot Be Compelled to Arbitrate on a De
         Facto Class Basis. Id. ¶¶ 77–86.

         Count II: Declaratory Judgment: FAA Preemption of SB 707. Id. ¶¶ 87–93.

         Count III: Declaratory Judgment: SB 707 Violates United States and California
         Constitutions. Id. ¶¶ 94–100.

         Count IV: Injunctive Relief: Enjoining the AAA Arbitration. Id. ¶¶ 101–06.

         Count V: Injunctive Relief: Enjoining Enforcement of SB 707. Id. ¶¶ 107–14.

       On April 3, 2020, Plaintiff filed a motion “for a preliminary injunction by April 15,
2020,” noticing the motion for hearing on May 4, 2020. See Dkt. # 8. On April 7, 2020, the
Court struck the motion because it was noticed for a hearing date closed on the Court’s calendar.
See Dkt. # 14.

       On April 8, 2020, Plaintiff filed an ex parte application for temporary restraining order
and order to show cause why a preliminary injunction should not issue. See App. Plaintiff
requests that the Court enjoin Defendants from: “(1) participating in the de facto class arbitration
currently pending before the American Arbitration Association (‘AAA’); and (2) enforcing any
provision of California Senate Bill 707 (‘SB 707’), codified at California Code of Civil
Procedure sections 1281.97, 1281.98, and 1281.99, against Postmates.” See Notice 2. Plaintiff
requests that the Court issue a preliminary injunction by April 15, 2020. Id.

II.      Legal Standard

       An application for a TRO must satisfy the same legal standard governing the issuance of
a preliminary injunction. See Cal. Indep. Sys. Operator Corp. v. Reliant Energy Servs., Inc., 181
F. Supp. 2d 1111, 1126 (E.D. Cal. 2001). Accordingly, a party seeking a TRO must establish
each of the following elements: (1) a likelihood of success on the merits, (2) a likelihood of
irreparable injury to the plaintiff if injunctive relief is not granted, (3) a balance of hardships
favoring the plaintiff, and (4) an advancement of the public interest. See Winter v. Nat. Res. Def.
Council, 555 U.S. 7, 20 (2008). Further, a TRO “should be restricted to serving [its] underlying
purpose of preserving the status quo and preventing irreparable harm just so long as is necessary


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to hold a hearing, and no longer.” Granny Goose Foods, Inc. v. Bhd. of Teamsters & Auto Truck
Drivers Local No. 70, 415 U.S. 423, 439 (1974). The Ninth Circuit uses a “sliding scale”
approach, under which “the elements of the preliminary injunction test are balanced, so that a
stronger showing of one element may offset a weaker showing of another.” Alliance for the
Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011). “An application for a temporary
restraining order involves the invocation of a drastic remedy which a court of equity ordinarily
does not grant, unless a very strong showing is made of a necessity and desirability of such
action.” Vaccaro v. Sparks, No. SACV 11-00164, 2011 WL 318039, at *1 (C.D. Cal. Jan. 28,
2011) (quoting Youngstown Sheet & Tube Co. v. Sawyer, 103 F. Supp. 978, 980 (D.D.C. 1952)).

III.     Discussion

       The Court turns first to the parties’ arguments regarding this Court’s jurisdiction. The
Court then takes the Winter factors in turn. Finally, the Court addresses Defendants’ request for
sanctions.

         A.      Subject Matter Jurisdiction

       A party seeking declaratory relief must show: (1) an actual controversy (2) regarding a
matter within federal court subject matter jurisdiction; but even if these requirements are met, the
court still has discretion to decline to entertain the declaratory relief action. See Calderon v.
Ashmus, 523 U.S. 740, 745–46 (1998); MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118,
127–28 (2007).

        Plaintiff asserts that subject matter jurisdiction exists in this case “pursuant to 9 U.S.C. §
4 and 28 U.S.C. §§ 1331 and 1367 because the underlying controversy involves claims arising
under federal law.” FAC ¶¶ 20–21. Defendants argue that there is not subject matter
jurisdiction over this case because Postmates’ declaratory relief claims do not arise under federal
law. See Opp. 15:26–18:2.

        Before declaratory relief can be granted, federal subject matter requirements must be
satisfied. See Vaden v. Discover Bank, 556 U.S. 49, 70 n.19 (2009). The Declaratory Judgment
Act (“DJA”) does not independently confer jurisdiction. A case cannot “arise under” the DJA
for purposes of 28 U.S.C. § 1331. Franchise Tax Bd. of State of Cal. v. Constr. Laborers
Vacation Tr. for S. Cal., 463 U.S. 1, 16 (1983). Rather, in declaratory relief actions, whether the
claim “arises under” federal law is determined by the nature of the underlying coercive claim:
the claim that the declaratory judgment defendant may assert against the plaintiff. See, e.g., id.
at 19 (“Federal courts have regularly taken jurisdiction over declaratory judgment suits in which,


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if the declaratory judgment defendant brought a coercive action to enforce its rights, that suit
would necessarily present a federal question.”); Medtronic, Inc. v. Mirowski Family Ventures,
LLC, 571 U.S. 191, 197 (2014) (“[F]ederal courts, when determining declaratory judgment
jurisdiction, often look to the character of the threatened action . . . they ask whether a coercive
action brought by the declaratory judgment defendant [] would necessarily present a federal
question.”) (internal quotations omitted); Standard Ins. Co. v. Saklad, 127 F.3d 1179, 1181 (9th
Cir. 1997) (“A person may seek declaratory relief in federal court if the one against whom he
brings his action could have asserted his own rights there.”). However, if, “but for the
availability of the declaratory judgment procedure, the federal claim would arise only as a
defense to a state created action, jurisdiction is lacking.” Franchise Tax Bd. of State of Cal., 463
U.S. at 16.

       Plaintiff’s FAC’s five counts seek declaratory and injunctive relief alleging that: (1)
Defendants have violated their agreements to arbitrate individually with Postmates; (2) if
Defendants were to bring a claim against Postmates under SB 707, Postmates would show the
claim is preempted by the FAA and/or violates the Contracts Clauses of the federal and state
constitutions. See generally FAC.

        The FAA allows federal courts to review arbitration agreements only to the extent a party
invokes Section 4 of the FAA and does so in a controversy where the court would have
jurisdiction over the underlying substantive dispute. See Opp. 16:14–16; Vaden, 556 U.S. at 53
(“Section 4 of the Federal Arbitration Act, 9 U.S.C. § 4, authorizes a United States district court
to entertain a petition to compel arbitration if the court would have jurisdiction, save for the
arbitration agreement, over a suit arising out of the controversy between the parties.” (internal
quotation marks omitted)); Geographic Expeditions, Inc. v. Estate of Lhotka ex rel. Lhotka, 599
F.3d 1102, 1106 (9th Cir. 2010) (“a federal court has jurisdiction over a petition to compel
arbitration if the federal court would have jurisdiction over the underlying substantive dispute”).
Plaintiff argues that Defendants could have filed a petition to compel arbitration against
Postmates in federal court. See Reply 2:15–18; Adams v. Postmates Inc., No. 4:19-cv-03042-
SBA, Dkt. # 1 ¶ 10 (N.D. Cal. June 3, 2019) (action to compel brought by Defendants’ counsel
in federal court based on similar arbitration claims to those here); see also Morgan Stanley &
Co., LLC v. Couch, 134 F. Supp. 3d 1215, 1221–23 (E.D. Cal. 2015). Plaintiff argues that that
lawsuit would have arisen under federal law because many Defendants assert claims under the
Fair Labor Standards Act. See Reply 2:16–18.

        Ultimately, Plaintiff has made a persuasive argument that there is subject matter
jurisdiction given that it is seeking declaratory relief to avoid a threatened action which would
itself arise under federal law. See Medtronic, 571 U.S. at 198 (“Consequently this declaratory


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judgment action, which avoids that threatened action, also ‘arises under’ federal . . . law.”).
Accordingly, the Court concludes at this time, based on the parties’ briefing, it likely has
jurisdiction to consider Plaintiff’s application.

         B.      Winter Factors

                 i.     Likelihood of Success on the Merits

       Plaintiff argues that it is likely to succeed on the merits of its claims that: (1) Defendants
may not compel Postmates to participate in “de facto class arbitration”; and (2) SB 707 is
preempted by the FAA and unconstitutional under the Contracts Clauses of the federal and state
constitutions. See App. 11:7–10.

        The Court concludes that Plaintiff is unlikely to succeed on the merits of its first
argument, that Defendants have impermissibly filed “de facto class arbitration.” See App.
11:12–14:7. First, the issue is likely delegated to the arbitrator. In Adams, the court considered
the argument Plaintiff raises in the context of cross-motions to compel arbitration, concluding
that the issue was properly delegated to the arbitrator based on the language of the Fleet
Agreement. See Adams I, 414 F. Supp. 3d at 1248. As here, Plaintiff sought an order
compelling the petitioner couriers to refile their arbitration demands and proceed in an
“individual” basis rather than by “de facto class arbitration.” See id. at 1248, 1251. The Court
concluded, first, that the delegation clause in the arbitration agreement “clearly and
unmistakably” delegates gateway questions of arbitrability to the arbitrator, and, applying
contract interpretation principles, concluded that the exception to the delegation clause was
limited specifically to challenges to “the enforceability of the Class Action and Representative
Action Waivers,” rather than more generally to “any dispute” concerning the waiver. See id. at
1252–55 (emphasis in original). The court held that Plaintiff’s argument as to whether the
Adams Claimants’ arbitration claims improperly constituted an attempt to arbitrate on a
classwide basis was explicitly delegated to the arbitrator. See id. at 1254; Henry Schein, Inc. v.
Archer & White Sales, Inc., 139 S. Ct. 524, 527 (2019). The court also explained that, based on
AAA rules, whether the couriers’ demands comported with the requirements of the Mutual
Arbitration Provision is “within the arbitrator’s exclusive authority.” See Adams I, 414 F. Supp.
3d at 1254–55 (citing AAA Comm. Arb. Rules, Rule R-4(c) (“It is the responsibility of the filing
party to ensure that any conditions precedent to the filing of a case are met prior to filing for an
arbitration, as well as any time requirements associated with the filing. Any dispute regarding
whether a condition precedent has been met may be raised to the arbitrator for determination.”));
Adams II, 2020 WL 1066980, at *4. The Adams court granted the motions to compel arbitration,
but declined to order Plaintiff to pay filing fees, concluding that the payment of arbitration fees


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was a “procedural condition precedent to be decided by the arbitrator,” citing to the AAA
Commercial Arbitration Rules incorporated in the Fleet Agreement. See id. at 1255. The Court
finds the reasoning in Adams persuasive, and that the issue Plaintiff raises is likely delegated to
the arbitrator.

        In addition, even if the Court were to consider Plaintiff’s arguments, the Court is not
convinced that Plaintiff is likely to succeed. Plaintiff argues that parties may not be compelled
to class arbitration, and that Defendants are doing so here, relying on Lamps Plus, Inc. v. Varela,
139 S. Ct. 1407, 1416 (2019). There, after a data breach, an employee sued his employer in
federal court bringing claims on behalf of a putative class of employees whose information had
been compromised; rather than compel arbitration on an individual basis, the court authorized
arbitration on a classwide basis. See id. at 1412–13. There was no express mention of class
proceedings in the arbitration agreement. See id. The Supreme Court held that an ambiguous
agreement cannot provide a contractual basis for compelling class arbitration. See id. at 1415,
1419. Here, in contrast, AAA determined that Defendants had brought “individual” arbitration
demands. See AAA Email at 8. While Plaintiff likens the efforts by Defendants’ counsel to class
arbitration by emphasizing that Defendants are represented by the same counsel and filed many
demands at the same time with similar allegations, here, Defendants have filed individual
demands in their own names, and are thus not “rais[ing] serious due process concerns by
adjudicating the rights of absent class members of the plaintiff class.” See Lamps Plus, 139 S.
Ct. at 1416 (emphasis added); see also AT&T Mobility LLC v. Concepcion, 563 U.S. 333,
347–48 (2011) (“Classwide arbitration includes absent parties.”); Sakkab v. Luxottica Retail
N.A., Inc., 803 F.3d 425, 435 (9th Cir. 2015); Blair v. Rent-A-Center, Inc., No. 17-17221, 2019
WL 2701333, at *3–9 (9th Cir. June 28, 2019); App. 11:23–14:3; Evangelis Decl., Ex. S. The
fact that there are numerous claims does not automatically render them brought on a class basis.
See Adams II, 2020 WL 1066980, at *4 (“Petitioners did what they are contractually required to
do: submit individual arbitration demands to the arbitrator. The mere fact that Petitioners filed
over 5,000 demands within a short span of time does not transform those individual demands
into a de facto class arbitration, as Postmates posits.”). Plaintiff’s arguments focus solely on
arguably abusive tactics by Defendants’ counsel to seek a settlement, but do not point to
anything about Defendants’ claims themselves that make them “class actions.” See App. 11–14.

       The Court concludes that Plaintiff is unlikely here to succeed in demonstrating: (1) that
the Court, rather than the arbitrator, may decide this question and/or (2) that Defendants are
proceeding as “de facto class arbitration.” See also Adams II, 2020 WL 1066980, at *4. Nor has
Plaintiff raised serious questions going to the merits. Accordingly, Plaintiff is unlikely to obtain
an injunction from this Court “enjoin[ing] Defendants . . . from participating in” the arbitration
pending before the AAA. See Notice 2. Accordingly, the Court need not reach whether Plaintiff


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is likely to succeed on the merits of its arguments regarding SB 707, as Plaintiff is unlikely to
succeed in demonstrating that it is appropriate for it to decline to proceed by arbitration. Any
argument regarding Defendants’ ability to obtain penalties under SB 707 is contingent on
Plaintiff’s continued refusal to pay the fees to arbitrate Defendants’ claims, and the Court is not
convinced of any need for immediate injunctive relief.

                 ii.    Irreparable Harm

        “[P]laintiffs seeking preliminary relief [must] demonstrate that irreparable injury is likely
in the absence of an injunction,” not merely that it is possible. Arc of Cal. v. Douglas, 757 F.3d
975, 990 (9th Cir. 2014) (quoting Winter, 555 U.S. at 22). Plaintiff alleges that it faces
irreparable harm by April 15, the date it will be forced to choose between “(a) paying millions of
dollars in unrecoverable arbitration filing fees and acceding to de facto class arbitration in
contravention of the parties’ individual arbitration agreements, and (b) insisting on individual
arbitration and exposing itself to substantial penalties under a recently enacted California statute,
SB 707, which is preempted by the Federal Arbitration Act and unconstitutional under the
federal and state constitutions.” See Notice 2.

        As to the first harm, being required to pay arbitration filing fees, Plaintiff argues that this
is irreparable harm because although monetary loss typically is not sufficient, the fees here are
not recoverable. See App. 21:4–23:9. Plaintiff also argues that “being required to arbitrate a
dispute that the parties did not agree to arbitrate is per se irreparable harm.” Id. 22:21–22;
Morgan Stanley & Co., 134 F. Supp. 3d at 1235 (finding irreparable harm if required to arbitrate
by party that waived its arbitration rights), aff’d, 659 F. App’x 402 (9th Cir. 2016); Pension Plan
for Pension Tr. Fund for Operating Engineers v. Weldway Const., Inc., 920 F. Supp. 2d 1034,
1049 (N.D. Cal. 2013) (“Several Circuits have held that a party is irreparably harmed by
incurring costs arbitrating a dispute that the court has concluded is non-arbitrable.”).

        The Court disagrees for several reasons. First, “[m]ere litigation expense, even
substantial and unrecoupable cost, does not constitute irreparable injury.” Renegotiation Bd. v.
Bannercraft Clothing Co. Inc., 415 U.S. 1, 24 (1974); Nationwide Biweekly Admin. Inc. v. Owen,
873 F.3d 716, 736 n.20 (9th Cir. 1990); see also In re Cintas Corp. Overtime Pay Arbitration
Litig., No. C06-1781-SBA, 2009 WL 1766595, at *5 (N.D. Cal. June 22, 2009) (“[A]ny
additional cost resulting from the Respondents’ involvement in the pending arbitration, as a
matter of law, does not constitute irreparable harm.”) (citing Graphic Commc’ns. Union, Chi.
Paper Handlers’ & Electrotypers’ Local No. 2 v. Chi. Tribune Co., 779 F.2d 13 (7th Cir. 1985));
Adams II, 2020 WL 1066980, at *5. Second, the Ninth Circuit has concluded that being required
to “arbitrate disputes that may not be arbitrable” does not constitute irreparable injury. Camping


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Const. Co. v. Dist. Council of Iron Workers, 915 F.2d 1333, 1349 (9th Cir. 1990) (“The district
court’s principal error lies in its assumption that unnecessarily undergoing arbitration
proceedings constitutes irreparable injury. That is simply not the case.”); see also Abernathy v.
S. Cal. Edison, 885 F.2d 525, 529 (9th Cir. 1989) (“[I]t seems clear that an order compelling
arbitration does not ordinarily harm the losing party irreparably.”). Third, Plaintiff does not
argue that Defendants’ wage and hour claims themselves are non-arbitrable, that the parties did
not agree to arbitrate them, or that there was no agreement to arbitrate at all, unlike the cases
Plaintiff cites, but instead takes issue with the method Defendants’ counsel has used here. See
generally App. Plaintiff does not attempt to show how prevailing on its “class arbitration”
argument would reduce its filing fees, or how Defendants would be required to proceed. See
Opp. 22. As the Adams court concluded, Plaintiff agreed to broad, mandatory arbitration in the
Fleet Agreement for couriers’ wage and hour claims, and it is likely that, unless Defendants
“abandon their claims, which seems unlikely,” Plaintiff will have to pay the arbitration filing
fees at some point. See Adams II, 2020 WL 1066980, at *5–6 (“It strains credulity for Postmates
to argue that the amount of filing fees due constitute irreparable harm when that ‘harm’ is
entirely of its own making.”).

       As to Plaintiff’s argument regarding the penalties it may face under SB 707, that is
contingent on: (1) Plaintiff refusing to pay the filing fees pursuant to the Fleet Agreement, (2)
Defendants filing a motion to compel arbitration invoking SB 707, and (3) a court or tribunal
imposing SB 707 penalties. See Opp. 23. If Plaintiff is correct in its arguments, and the court or
tribunal concludes that SB 707 is preempted or unconstitutional, it will not face any penalties at
all. See Opp. 23.

        The Court concludes that Plaintiff has not carried its burden to demonstrate that it will
suffer irreparable harm absent an immediate injunction and that its injuries are “more likely than
not.” See Winter, 555 U.S. at 22.

                 iii.   Balance of Equities and Public Interest

       Plaintiff argues that the balance of equities tips in its favor because it is likely to suffer “a
battery of irreparable injuries absent an injunction, including the loss of its rights under the FAA
to pursue the method of dispute resolution by which it expressly agreed to resolve disputes with
Defendants,” and the burden of paying arbitration filing fees. See App. 23–25. Defendants,
Plaintiff argues, would not suffer harm because any delay in Defendants’ ability to arbitrate their
disputes “would be nominal.” Id. Defendants respond that they have a “well-recognized and
compelling interest in obtaining prompt arbitration of their claims.” Opp. 23–24.



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        The Court concludes the balance of equities tips against an injunction. Defendants have
an interest in being permitted to pursue their wage and hour claims in arbitration, which “is
supposed to be a speedy and inexpensive alternative to litigation,” and which the agreement they
entered into and Postmates’ drafted expressly requires. See PaineWebber Inc. v. Farnam, 843
F.2d 1050, 1052 (7th Cir. 1988); see also Camping Const. Co., 915 F.2d at 1349 (“Here, the
lengthy delay caused by the preliminary injunction granted below represents near-total vitiation
of the salutary effect which the typically quick and inexpensive arbitration is presumed to have
on labor-management relations.”); Bushley v. Credit Suisse First Boston, 360 F.3d 1149, 1153
(9th Cir. 2004) (“The Federal Arbitration Act represents Congress’s intent ‘to move the parties
to an arbitrable dispute out of court and into arbitration as quickly and easily as possible.’”); In
re Cintas Corp. Overtime Pay Arbitration Litig., 2009 WL 1766595, at *5 (“Imposing a stay of
the arbitration would serve only to delay conclusion of the dispute further, which is antithetical
to the spirit and intent of the arbitration process.”). The Court cannot conclude that the balance
of equities tips in favor of enjoining Defendants from arbitration, and while Plaintiff contends
that Defendants would “not be precluded from arbitrating their disputes in the manner required
by the parties’ agreements,” Plaintiff does not explain what kind of injunction Plaintiff would
craft or how Defendants would be required to proceed. See App. 23–25.

        The public interest also does not favor an injunction here. California has a public interest
in the enforcement of its wage and hour laws. See Jimenez v. Menzies Aviation Inc., No. 15-CV-
02392-WHO, 2015 WL 5591722, at *4 (N.D. Cal. Sept. 23, 2015). And, as discussed above,
Defendants have an interest in having their claims heard in a timely manner.

                 iv.    Whether There is an Emergency

        Finally, the Court notes that Plaintiff has made no showing that waiting a few weeks to
hold a hearing and have full briefing from both sides would cause irreparable injury, especially
given the fact that this Court and the country is in the midst of a pandemic. See Art Ask Agency
v. Individuals, Corps., Ltd. Liab. Companies, Partnerships & Unincorporated Associations
Identified on Schedule A Hereto, No. 20-CV-1666, 2020 WL 1427085, at *2 (N.D. Ill. Mar. 18,
2020) (“[T]he world is in the midst of a global pandemic . . . . The Court can still hear
emergency motions, but resources are stretched and time is at a premium. [] If there’s ever a
time when emergency motions should be limited to genuine emergencies, now’s the time.”);
Order of the Chief Judge 20-042. Plaintiff itself appears to recognize this. See Dkt. # 8
(“Postmates does not believe that seeking a temporary restraining order would be appropriate in
this case.”). Plaintiff has not proved there is a need for emergency relief.

                 v.     Conclusion


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      The Court concludes that Plaintiff has not demonstrated a temporary restraining order is
warranted under the Winter factors. The Court also declines to set a hearing on the order to
show cause at this time.

         C.      Sanctions

       Defendants request that sanctions be imposed pursuant to this Court’s Standing Order
which states “[e]x parte applications are solely for extraordinary relief and should be used with
discretion. Sanctions may be imposed for misuse of ex parte applications.” Standing Order ¶
10. The Court concludes that Plaintiff’s ex parte application, while ultimately unsuccessful, has
not abused the ex parte procedure so as to warrant sanctions.

IV.      Conclusion

        For the foregoing reasons, the Court DENIES Plaintiff’s application for a temporary
restraining order. Plaintiff may file a regularly noticed preliminary injunction motion if it
chooses. The Court DENIES Defendants’ request for sanctions.

         IT IS SO ORDERED.




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